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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     IN RE SUBPOENAS ISSUED TO                          Case No. 23-mc-80181-VKD
                                         JEFFREY WILLIAMS AND BRUCE
                                   9     WATROUS JR..
                                                                                            ORDER TRANSFERRING MOTION
                                  10                                                        TO QUASH SUBPOENA; VACATING
                                                                                            HEARING
                                  11
                                                                                            Re: Dkt. No. 1
                                  12
Northern District of California
 United States District Court




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                                              Apple Inc., Jeffrey Williams, and Bruce Watrous, Jr. (“Non-Parties”) move to quash
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                                       subpoenas for the depositions of Mr. Williams and Mr. Watrous served by lead plaintiffs and
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                                       defendant Qualcomm Incorporated (“Qualcomm”) in the matter In Re Qualcomm Inc. Securities
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                                       Litigation, 3:17-cv-00121-JO-MSB (S.D. Cal.). See Dkt. No 1-1, Exs. B, C. Both depositions are
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                                       noticed to occur at locations within the Northern District of California. Id.
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                                              Rule 45(f) of the Federal Rules of Civil Procedure provides that “[w]hen the court where
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                                       compliance is required did not issue the subpoena, it may transfer a [motion to quash the
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                                       subpoena] to the issuing court if the person subject to the subpoena consents or if the court finds
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                                       exceptional circumstances.” Fed. R. Civ. P. 45(f). Mr. Williams and Mr. Watrous do not consent
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                                       to the transfer of the motion to quash. Dkt. No. 28 at 3. Lead plaintiffs and Qualcomm argue that
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                                       the motion should be transferred to the issuing court because the issuing court has already
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                                       considered and resolved the parties’ dispute about use of third-party testimony (including Apple
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                                       witnesses’ testimony) from a prior action and is actively monitoring the parties’ efforts to resolve
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                                       their dispute about the discovery and admissibility of testimony from Apple witnesses. Dkt. No.
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                                       21 at 7-10; Dkt. No. 19 at 9-10. Non-Parties argue that transfer of their motion to the issuing court
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                                   1   would be improper because the issuing court is in no way better positioned to decide the motion

                                   2   and no other exceptional circumstances exist. Dkt. No. 28 at 12-14.

                                   3          In the absence of consent, the Court may only transfer the motion to quash to the Southern

                                   4   District of California if lead plaintiffs and Qualcomm demonstrate that exceptional circumstances

                                   5   are present and that those circumstances outweigh the Non-Parties’ interests in obtaining local

                                   6   resolution of their motion. See Fed. R. Civ. P. 45, Advisory Committees Notes to 2013

                                   7   Amendments (subsection (f)). Among the factors courts consider in assessing whether exceptional

                                   8   circumstances exists are (1) the complexity, procedural posture, and duration of the underlying

                                   9   litigation; (2) the nature of the issues pending before, or already resolved by, the issuing court; (3)

                                  10   the need to avoid unnecessary duplication; and (4) whether the issuing court is in a better position

                                  11   to decide the motion based on its familiarity with the issues involved. See, e.g., E4 Strategic Sols.,

                                  12   Inc. v. Pebble Ltd. P’ship, 2015 WL 12746706, at *3 (C.D. Cal. Oct. 23, 2015) (discussing non-
Northern District of California
 United States District Court




                                  13   exhaustive list of considerations); Moon Mountain Farms, LLC v. Rural Community Insurance

                                  14   Company, 301 F.R.D. 426, 429 (N.D. Cal. 2014) (same).

                                  15          While it is clear that the issuing court has not had an opportunity to consider, and has not

                                  16   yet decided, Non-Parties’ objections to the subpoenas served on Mr. Williams and Mr. Watrous,

                                  17   that court has already resolved a motion in limine concerning lead plaintiffs’ use of Apple

                                  18   witnesses’ prior testimony, and the Court agrees with lead plaintiffs and Qualcomm that resolution

                                  19   of Non-Parties’ motion to quash is likely to have implications for the issuing court’s management

                                  20   of this aspect of the underlying litigation. See Dkt. No. 19 at 9-10; Dkt. No. 21 at 8-9. Moreover,

                                  21   given its familiarity with the matters in dispute on the merits of the underlying litigation, the

                                  22   issuing court is in a better position to assess the principal arguments raised in Non-Parties’ motion

                                  23   to quash—i.e. that Messrs. Williams and Watrous do not have unique, non-repetitive, firsthand

                                  24   knowledge of the facts at issue in the case, and that the parties failed to exhaust other less intrusive

                                  25   means of discovery before seeking their depositions. See Dkt. No. 1 at 10-13; Dkt. No. 28 at 12-

                                  26   14. Non-Parties do not claim that a transfer would be burdensome or that it would harm any

                                  27   interest other than their interest in having this dispute heard locally. See Dkt. No. 28 at 12. The

                                  28   circumstances favoring transfer to the issuing court outweigh Non-Parties’ interest in having the
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                                          Case 5:23-mc-80181-VKD Document 31 Filed 08/11/23 Page 3 of 3




                                   1   motion to quash decided by a court in this District, where the witnesses reside and where Apple is

                                   2   headquartered.

                                   3           Accordingly, pursuant to Rule 45(f), the Court hereby directs the Clerk of Court to transfer

                                   4   Non-Parties’ motion to quash and this miscellaneous action to the Southern District of California

                                   5   for decision by the issuing court in the matter In Re Qualcomm Inc. Securities Litigation, 3:17-cv-

                                   6   00121-JO-MSB (S.D. Cal.). The hearing set for August 15, 2023 is vacated. The Clerk of Court

                                   7   is directed to close the file.

                                   8           IT IS SO ORDERED.

                                   9   Dated: August 11, 2023

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                                                                                                    VIRGINIA K. DEMARCHI
                                  12                                                                United States Magistrate Judge
Northern District of California
 United States District Court




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